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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                  LEWIS T. BABCOCK, JUDGE

  Civil Case No. 10-cv-01482-LTB-KLM (Consolidated w/11-cv-02321-RPM-MJW)

  ONYX PROPERTIES LLC, a Colorado Limited Liability Company;
  EMERALD PROPERTIES, LLC, a Colorado Limited Liability Company;
  VALLEY BANK AND TRUST, a Colorado State Bank;
  PAUL NAFTEL, an individual; and
  SHAUNA NAFTEL, an individual,

              Plaintiffs,

  vs.

  BOARD OF COUNTY COMMISSIONERS OF ELBERT COUNTY,

             Defendant.
  ___________________________________________________________________________

  KENNETH G. ROHRBACH,
  KAREN L. ROHRBACH,
  PAUL K. ROHRBACH, and
  COMPOST EXPRESS, INC., a Colorado corporation,

              Plaintiffs,

  vs.

  BOARD OF COUNTY COMMISSIONERS OF ELBERT COUNTY, in its official capacity,

             Defendant.
  ___________________________________________________________________________

                                MINUTE ORDER
  ___________________________________________________________________________
  BY ORDER OF JUDGE LEWIS T. BABCOCK

       Plaintiffs Unopposed Motion for Leave to Withdraw Their Second Motions for Summary
  Judgment (Doc 88 - filed September 27, 2012) is GRANTED. Plaintiffs’ Second Motions for
  Summary Judgment (Docs 72 and 74) are WITHDRAWN.



  Dated: September 28, 2012
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